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                                                    STATE OF LOUISIANA

              NUMBER:19-3947                                                                                        DIVISION: D-12

                                                             J.\ry. DOE

                                                             VERSUS

               ÄRCHDIOCESE OF NEW ORLEANS INDEMNITY,INC., THE CATHOLIC MUTUAL
                 RELIEF SOCIETY OFAMERICA, THE ROMAN CATHLOIC CHURCH OF THE
                 ARCHDÍOCESE OF NEW ORLEA¡IS, AND FATHER LA\ilRENCE A. HECKER


              FILED:                                          DEPUTYCLERK:

                        PRE-TRTAL SCHEDULING ORDER FgR TRIAIT ON PBEqçRTPTION

                     IT IS ORDERED by this Court that all parties and all attorneys comply with the following

              Scheduling Order:

              I'     This is a JUDGE TRIAL ON AItf EXCEPTION OF PRESCRIPTION. The triat of this
                     matter will be set upon completion ofdiscovery on the issue ofþréscription by request to the
                     Court.

              2.     The Archdiocese will f¡le its exception of prescrþion and supporting memorandum on or
                     before January 31,2020.

          3'        The Plaintiff   will file his opposition memorandum     on or before        February 21,2020.
          4.        Plaintif(s) shall disclose in writing the names and addresses of all fact witnesses, including a
                    briefstatement ofthe facts whjch they will testif about, including experts and their respective
                    qualifications on or before Februara 2g,2020,

          5'        Defendant shall disclo-se in writing the names and addresses ofall fact witnesses, including
                                                                                                                   a
                    briefstatement ofthe facts wlich-they wìll testiQ about, including experts and their
                                                                                                         respecti've
                    qualifications on or before March 21 ,2020.

          6,        Plaintiff shall produce to the Archdiocese all expert reports on or before May 10,2020.

          7'        Defendant shall produce to the plaintiffall expert reports on or before                J"!üLrñt6ú^JU I t lf      u
          8.        PlaintiffandDefendantshallcompleteall
                                                                                                                                     rvÞ
                                                                discovery   a,   W*                    12,2020
                                                                                                                       4L4fi-/
         g'        Trial on the merits will be scheduled once ALL discovery is complete. It is the
                                                                                                       duty of
                   counsel to request that the matter be set for trial
                                                                                            of discovery by
                                                                         "it". "o-pl"tion
                   contacting the Court's law clerk and arranging a conference  calito select a trial date.
         IO.       ALL PRE-TRIAL MEMORANDUM, FINAL WITNESS LISTS AND FINAL EXIIIBIT
                   LISTS MUST BE FILED 15 DAYS PRIOR TO THE TRIAL ON THE
                                                                         VTBNT:IS.

                   Signed   thisj8foay    of January,2o2o.



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